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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

  Plaintiff(s),

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
  C.O. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

  Defendant(s).
                                   MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that Plaintiff’s Unopposed Motion to Further Modify
  Scheduling Order to Extend the Deadline for Filing Expert Disclosures and Discovery
  Cut Off (Docket No. 34) is granted. The Scheduling Order (Docket No. 22) is thus
  amended as follows. The deadline for disclosure of experts is now November 2, 2015.
  The deadline for rebuttal experts is now December 7, 2015. The discovery cut-off is
  now December 31, 2015.

  Date: September 17, 2015
